Douglas R. Ricks, OSB #044026
Colleen A. Lowry, OSB #123743
VANDEN BOS & CHAPMAN, LLP
319 S.W. Washington, Suite 520
Portland, Oregon 97204
TELEPHONE: (503) 241-4869
FAX: (503) 241-3731

         Of Attorneys for Debtor




                     IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF OREGON

 In re                                          Case No. 16-34486-tmb13

 Kristi Maria Polukeev,                         NOTICE OF INTENT TO SELL REAL
                                                PROPERTY AND MOTION FOR
                                                AUTHORITY TO SELL REAL
                          Debtor.               PROPERTY (8815 SW Oleson Rd.,
                                                Portland, OR 97223)

                     NOTICE OF INTENT TO SELL REAL PROPERTY

         Kristi Maria Polukeev (“Debtor”) proposes to take the following action and files

this Notice of Intent to Sell Real Property requesting authority to:

      Sell the real property located at 8815 SW Oleson Rd., Portland, OR 97223 for
$825,000.00.

YOU ARE HEREBY NOTIFIED that unless within twenty-one (21) days of the filing date

of this notice (September 16, 2021) you: (1) file a written objection to the sale of the

above-described property, setting forth the specific grounds for such objection and your

relation to the case, with the Clerk of Court, 1050 SW 6th Ave., 7th Floor, Portland,

Oregon 97204; and (2) mail a copy to Debtor’s attorney, Douglas R. Ricks, 319 SW

 Page 1 of 5      NOTICE OF INTENT TO SELL REAL PROPERTY AND                VANDEN BOS & CHAPMAN, LLP
                                                                                    Attorneys at Law
                  MOTION FOR AUTHORITY TO SELL REAL PROPERTY              319 SW Washington Street, Suite 520
                                                                              Portland, Oregon 97204-2690
                  (8815 SW Oleson Rd., Portland, OR 97223)                           (503) 241-4869




                      Case 16-34486-tmb13      Doc 60    Filed 09/16/21
Washington St. Suite 520, Portland, Oregon 97204, the undersigned will proceed to

take the proposed action, or apply for a court order if required, without further notice or

a hearing.



               MOTION FOR AUTHORITY FOR SALE OF REAL PROPERTY

       Debtor, by and through her attorneys, Vanden Bos & Chapman, LLP, hereby

moves this Court for authority to sell the real property located at 8815 SW Oleson Rd.,

Portland, OR 97223 (the “Property”) and with the legal description as follows:

       Beginning at the Northwest comer of the Southeast one-quarter, Northeast
       one-quarter of Section 26, Township 1 South, Range 1 West, of the
       Willamette Meridian, in the County of Washington and State of Oregon;
       thence South 89° 38' East along the North line of said Southeast one-
       quarter, Northeast one-quarter of Section 26. A distance of 296.76 feet to
       an iron pipe; thence South 471.60 feet to an iron pipe, which iron pipe is
       the true point of beginning of the herein described tract, and the
       Southwest comer of that certain tract conveyed to Howard T Multhauf, et
       ux, by deed recorded January 5. 1943 in Book 214, No. 9325; thence from
       the above described true point of beginning South 89° 43' East 138.93
       feet along said Multhauf Tract to an iron pipe, which is the Northwest
       corner of that certain tract conveyed to Jack E. Hannula, et ux, by deed
       recorded July 26, 1943 in Book 223, Page 515; thence South 188.02 feet
       along said Hannula Tract to an iron pipe on the Northerly boundary of the
       County Road; thence continuing South 35.42 feet to a point in the center
       of said County Road; thence South 57° 52' West along the center of said
       County Road 164.06 feet to a point; thence North 35.42 feet to an iron
       pipe on the Northerly boundary of said County Road; thence continuing
       North 275.96 feet to the place of beginning.

       COMMONLY KNOWN AS: 8815 SW Oleson Road, Portland, OR 97223

       1.       The Debtor’s Chapter 13 Plan dated 9/29/20 (Doc. #56) (the “Plan”)

contemplated the sale of the Property at paragraph 14.

       2.       The Debtor is co-owner of the real property with her estranged husband,

Vladimir Polukeev. However, Vladimir Polukeev conveyed his one-half interest in the

 Page 2 of 5      NOTICE OF INTENT TO SELL REAL PROPERTY AND                VANDEN BOS & CHAPMAN, LLP
                                                                                    Attorneys at Law
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                                                                              Portland, Oregon 97204-2690
                  (8815 SW Oleson Rd., Portland, OR 97223)                           (503) 241-4869




                     Case 16-34486-tmb13      Doc 60     Filed 09/16/21
property to the debtor, Kristi Polukeev, by Real Estate Contract recorded in Washington

County, State of Oregon, on November 28, 2016, as File No. 2016-097999, for the

purchase price of $93,000.00.

       3.      The Addendum to Real Estate Contract recorded in Washington County,

State of Oregon, on August 23, 2021, as File No. 2021-091198, states that the

remaining balance on the purchase price to be distributed to Vladimir Polukeev from the

sale proceeds of the real property is $30,000.00.

       4.      The Addendum to Real Estate Contract recorded in Washington County,

State of Oregon, on August 23, 2021, as File No. 2021-091198, also states that

$35,000.00 from the sale proceeds of the real property shall be placed into a college

trust account for the benefit of Kade Polukeev, the minor child of Kristi and Vladimir

Polukeev and to be accessible to the minor child at age 18.

       5.      Debtor has accepted an offer for sale at $825,000.00 as stated on the

Seller’s Counter Offer No. 1 attached to Residential Real Estate Sale Agreement that is

attached to the motion that was filed with the Court as Exhibit 1. The anticipated buyer

is Jerry Odell Bybee and Juanita Anne Bybee who have no relationship to the Debtor.

Copies of Exhibit 1 are available upon request from Debtor’s counsel.

       6.      The sale price was negotiated in an arms-length transaction; no

independent appraisal has been conducted.

       7.      The Preliminary Title Report for the real property is attached to the motion

that was filed with the Court as Exhibit 2. Copies of Exhibit 2 are available upon

request from Debtor’s counsel.



 Page 3 of 5     NOTICE OF INTENT TO SELL REAL PROPERTY AND                VANDEN BOS & CHAPMAN, LLP
                                                                                   Attorneys at Law
                 MOTION FOR AUTHORITY TO SELL REAL PROPERTY              319 SW Washington Street, Suite 520
                                                                             Portland, Oregon 97204-2690
                 (8815 SW Oleson Rd., Portland, OR 97223)                           (503) 241-4869




                     Case 16-34486-tmb13      Doc 60    Filed 09/16/21
       8.      The Estimated Closing Statement will be provided to the Chapter 13

Trustee as soon as it is made available from escrow. Escrow has been opened with

Lawyers Title of Oregon, LLC, Shelley Williams, Escrow Officer, 6000 Meadows Rd.,

Suite 100, Lake Oswego, OR 97035.

       9.      This transaction is a “traditional” sale of the property and the

authority requested is pursuant to Section 363(b). Debtor does not seek authority

for a short sale or sale free-and-clear. Secured creditor(s) will be paid through escrow

to extent of payoff quote(s).

       10.     As a condition of sale, closing is scheduled on or before October 15, 2021.

       11.     There is no adverse impact on creditors. Proceeds from the sale of the

Property will be paid to all creditors, including all unsecured creditors, who filed claims.

All claims shall be paid 100%.

       12.     The proceeds from the sale of the Property will be applied to the following

items in the following order:

       (a)     Liens and security interests against the real estate, excluding the

               distributions under the recorded Real Estate Contract and recorded

               Addendum to Real Estate Contract;

       (b)     $30,000.00 to Vladimir Polukeev pursuant to the recorded Addendum to

               Real Estate Contract;

       (c)     $35,000.00 to be placed into a college trust account for the benefit of the

               minor child, Kade Polukeev, pursuant to the recorded Addendum to Real

               Estate Contract;

       (d)     Sale commissions and closing costs;

 Page 4 of 5     NOTICE OF INTENT TO SELL REAL PROPERTY AND                  VANDEN BOS & CHAPMAN, LLP
                                                                                     Attorneys at Law
                 MOTION FOR AUTHORITY TO SELL REAL PROPERTY                319 SW Washington Street, Suite 520
                                                                               Portland, Oregon 97204-2690
                 (8815 SW Oleson Rd., Portland, OR 97223)                             (503) 241-4869




                     Case 16-34486-tmb13       Doc 60    Filed 09/16/21
       (e)     Payment to the Chapter 13 Trustee for distribution under the Plan; and

       (f)     Any remaining funds to the debtor, Kristi Maria Polukeev.

       WHEREFORE, Debtor prays that this Court enter an order authorizing sale of the

Property on terms set forth herein.

Dated: September 16, 2021                 Respectfully Submitted;

                                          VANDEN BOS & CHAPMAN, LLP

                                          By:/s/Colleen A. Lowry for Douglas R. Ricks
                                             Douglas R. Ricks, OSB #044026
                                             Of Attorneys for Debtor




 Page 5 of 5     NOTICE OF INTENT TO SELL REAL PROPERTY AND                  VANDEN BOS & CHAPMAN, LLP
                                                                                     Attorneys at Law
                 MOTION FOR AUTHORITY TO SELL REAL PROPERTY                319 SW Washington Street, Suite 520
                                                                               Portland, Oregon 97204-2690
                 (8815 SW Oleson Rd., Portland, OR 97223)                             (503) 241-4869




                     Case 16-34486-tmb13     Doc 60    Filed 09/16/21
Exhibit 1
Page 1 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 2 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 3 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 4 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 5 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 6 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 7 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 8 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 9 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 10 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 11 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 1
Page 12 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 2
Page 1 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 2
Page 2 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 2
Page 3 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 4 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 5 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 6 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 7 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 8 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 9 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 10 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
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Page 11 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
Exhibit 2
Page 12 of 12   Case 16-34486-tmb13   Doc 60   Filed 09/16/21
In re Kristi Maria Polukeev
Chapter 13 Bankruptcy Case No. 16-34486-tmb13

                                  CERTIFICATE - TRUE COPY

DATE:              September 16, 2021

DOCUMENT:          NOTICE OF INTENT TO SELL REAL PROPERTY AND MOTION FOR
                   AUTHORITY TO SELL REAL PROPERTY (8815 SW Oleson Rd.,
                   Portland, OR 97223)

        I hereby certify that I prepared the foregoing copy of the foregoing named document and
have carefully compared the same with the original thereof and it is a correct copy therefrom
and of the whole thereof.

                                   CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:

 ALL CREDITORS ON COURT MATRIX
 ATTACHED

by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were deposited in
the Post Office at Portland, Oregon, on the above date, postage prepaid.

       I hereby certify that the foregoing was served on all CM/ECF participants through the
Court's Case Management/Electronic Case File system on the date set forth below.

         Dated: September 16, 2021


                                           VANDEN BOS & CHAPMAN, LLP


                                           By:/s/Colleen A. Lowry for Douglas R. Ricks
                                             Douglas R. Ricks, OSB #04426
                                             Of Attorneys for Debtor




 Page 1 of 1 –     CERTIFICATE OF SERVICE                                        VANDEN BOS & CHAPMAN, LLP
                                                                                         Attorneys at Law
                                                                               319 SW Washington Street, Suite 520
                                                                                   Portland, Oregon 97204-2690
                                                                                          (503) 241-4869




                      Case 16-34486-tmb13          Doc 60     Filed 09/16/21
Label Matrix for local noticing           Dept of Justice                                 Ditech Financial LLC FKA Green Tree Servicin
0979-3                                    Division of Child Support                       14841 Dallas Parkway, Suite 300
Case 16-34486-tmb13                       Attn: Bankruptcy Unit                           Dallas, TX 75254-7883
District of Oregon                        POB 14670
Portland                                  Salem, OR 97309-5013
Thu Sep 16 11:02:25 PDT 2021
IRS                                       New Penn Financial, LLC d/b/a Shellpoint Mor    New Penn Financial, LLC d/b/a Shellpoint Mor
IRS                                       P.O. Box 10675                                  P.O. Box 10826
PO Box 7346                               Greenville, SC 29603-0675                       Greenville, SC 29603-0826
Philadelphia, PA 19101-7346


ODR Bkcy                                  Oregon Attorney General                         PRA Receivables Management, LLC
955 Center NE #353                        Department of Justice                           PO Box 41021
Salem, OR 97301-2555                      1162 Court St NE                                Norfolk, VA 23541-1021
                                          Salem, OR 97301-4096


US Attorney                               US Attorney                                     US Attorney General
1000 SW 3rd Ave #600                      US Attorney                                     Department of Justice
Portland, OR 97204-2936                   1000 SW 3rd Ave #600                            10th & Constitution NW
                                          Portland, OR 97204-2936                         Washington, DC 20530-0001


US Trustee, Portland                      1050 SW 6th Ave. #700                           Asset Recovery Group
1220 SW 3rd Ave., Rm. 315                 Portland, OR 97204-1160                         PO Box 14949
Portland, OR 97204-2829                                                                   Portland, OR. 97293-0949



Cascade Pathology Service Group           Cascade Pathology Service Group                 (p)JPMORGAN CHASE BANK N A
POB 4207                                  c/o National Service Bureau, Inc.               BANKRUPTCY MAIL INTAKE TEAM
Portland, OR 97208-4207                   PO Box 747                                      700 KANSAS LANE FLOOR 01
                                          Bothell, WA 98041-0747                          MONROE LA 71203-4774


Chase                                     DS Waters of North America                      DS Waters of North America
c/o Client Services, Inc.                 PO Box 660579                                   c/o Collection Bureau of America
3451 Harry S. Truman Blvd                 Dallas, TX 75266-0579                           25954 Eden Landing
Saint Charles, MO 63301-4047                                                              First Floor
                                                                                          Hayward, CA 94545-3816

Ditech Financial LLC                      Ditech Financial LLC fka Green Tree Servicin    Ditech Financial, LLC
c/o CT Corp System, RA                    P.O. Box 6154                                   PO Box 6172
388 State St., Ste 420                    Rapid City, South Dakota 57709-6154             Rapid City, SD 57709-6172
Salem, OR 97301-3581


(p)INTERNAL REVENUE SERVICE               IRS                                             IRS
CENTRALIZED INSOLVENCY OPERATIONS         Attn: Civil Process Clerk                       Centralized Insolvency Operation
PO BOX 7346                               U.S. Attorney, District of Oregon               P. O. Box 7346
PHILADELPHIA PA 19101-7346                1000 SW 3rd, #600                               Philadelphia, PA 19101-7346
                                          Portland, OR 97204-2936

Legacy Lab Services                       Legacy Lab Services                             (p)DSNB MACY S
PO Box 2829                               c/o Asset Systems, Inc.                         CITIBANK
Portland, OR 97208-2829                   4520 SE Belmont #280                            1000 TECHNOLOGY DRIVE MS 777
                                          Portland, OR 97215-1668                         O FALLON MO 63368-2222

                                    Case 16-34486-tmb13         Doc 60        Filed 09/16/21
Macy’s                                           Macy’s                                            Metropolitan Anesthesia
c/o Alltran Financial                            c/o Northland Group, Inc.                         PO Box 4860
PO Box 722910                                    PO Box 390905                                     Murrells Inlet, SC 29576-2698
Houston, TX 77272-2910                           Minneapolis, MN 55439-0905


New Penn Financial, LLC                          ODR                                               ODR
d/b/a Shellpoint Mortgage Servicing              ATTN: Bankruptcy Unit                             c/o Ellen Rosenblum, Attorney General
P.O. Box 10675                                   955 Center St NE                                  Oregon Department of Justice
Greenville, SC 29603-0675                        Salem, OR 97301-2555                              1162 Court St, NE
                                                                                                   Salem, OR 97301-4096

Oregon Clinic                                    Oregon Clinic                                     PROVIDENCE
Mail Stop 163                                    c/o Asset Recovery Group, Inc.                    C/O PROFESSIONAL CREDIT SERVICE
PO Box 5007                                      PO Box 14949                                      PO BOX 7548
Portland, OR 97208-5007                          Portland, OR 97293-0949                           SPRINGFIELD, OR 97475-0039


Portland Credit Inc.                             (p)PROVIDENCE HEALTH & SERVICES                   Providence Health and Services
dba Fidelity Collection Svc                      ATTN CINDY NORRIS                                 c/o Professional Credit Service
PO Box 429                                       PO BOX 4408                                       PO Box 7548
Hillsboro OR 97123-0429                          PORTLAND OR 97208-4408                            Springfield, OR 97475-0039


SKO Brenner American, Inc.                       Salem Emergency Physicians                        Salem Emergency Physicians Service
40 Daniel Street                                 c/o Balanced Healthcare Receivables               PO Box 742547
PO Box 230                                       PO Box 9577                                       Los Angeles, CA 90074-2547
Farmingdale, NY 11735-0230                       Manchester, NH 03108-9577


Salem Hospital                                   Salem Hospital                                    Salem Radiology Consultants
c/o Americollect, Inc.                           c/o Malcolm S. Gerald & Assoc.                    c/o Valley Credit Service
PO Box 1566                                      PO Box 6990                                       626 Appleblossom Ave NE
Manitowoc, WI 54221-1566                         Portland, OR 97228-6990                           Salem, OR 97303-5008


State of Oregon                                  The Children’s Clinic                             The Children’s Clinic
Employment Dept.                                 POB 2848                                          c/o Fidelity Collection Svc
875 Union Street NE                              Portland, OR 97208-2848                           PO Box 429
Salem, OR 97311-0800                                                                               Hillsboro, OR 97123-0429


(p)CITIBANK                                      The Home Depot                                    The Oregon Clinic
PO BOX 790034                                    c/o Portfolio Recovery Assoc.                     PO Box 5036
ST LOUIS MO 63179-0034                           PO Box 12914                                      Portland, OR 97208-5036
                                                 Norfolk, VA 23541-0914


U.S. Bank Trust National Association, as         Viviscal                                          Vladimir Polukeev
Trustee of the Igloo Series IV Trust             PO Box 406                                        17238 SW Pleasanton Lane
c/o SN Servicing Corporation                     Farmingdale, NY 11735-0406                        Beaverton, OR 97003-4240
323 Fifth Street
Eureka, CA 95501-0305

Willamette Valley Professional Svcs              Willamette Valley Professional Svcs               Willamette Valley Professional Svcs
PO Box 13129                                     c/o Americollect, Inc.                            c/o Malcom S. Gerald & Assoc.
Salem, OR 97309-1129                             PO Box 1566                                       332 South Michigan Ave, Ste 600
                                                 Manitowoc, WI 54221-1566                          Chicago, IL 60604-4318

                                           Case 16-34486-tmb13           Doc 60        Filed 09/16/21
DOUGLAS R RICKS                                      Kristi Maria Polukeev                                Wayne Godare
319 SW Washington St #520                            8815 SW Oleson Rd.                                   222 SW Columbia St #1700
Portland, OR 97204-2620                              Portland, OR 97223-6831                              Portland, OR 97201-6652




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase                                                IRS                                                  Macy’s
PO Box 15298                                         Attn: Attorney General of United States              PO Box 689195
Wilmington, DE 19850                                 10th Constitution NW #4400                           Des Moines, IA 50368
                                                     Washington, DC 20530


Providence Health and Services                       The Home Depot
PO Box 3299                                          PO Box 182676
Portland, OR 97208-3299                              Columbus, OH 43218




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ditech Financial LLC                              (d)ODR Bkcy                                          (u)U.S Bank National Association, not individ
                                                     955 Center NE #353
                                                     Salem, OR 97301-2555



(u)U.S. Bank Trust National Association, as T        (d)US Attorney General                               (d)PRA Receivables Management, LLC
                                                     Department of Justice                                PO Box 41021
                                                     10th & Constitution NW                               Norfolk, VA 23541-1021
                                                     Washington, DC 20530-0001


(d)The Oregon Clinic                                 (u)Charlene Hiss                                     (u)SMGNine Placeholder
c/o Asset Recovery Group                                                                                  , OR
PO Box 14949
Portland, OR 97293-0949


End of Label Matrix
Mailable recipients    62
Bypassed recipients     9
Total                  71




                                          Case 16-34486-tmb13               Doc 60      Filed 09/16/21
